EXHIBIT 46
Proverbs 21:19 "It is better to dwell in the wilderness, than with
a contentious and an angry woman."
Proverbs 5:6 “For she cares nothing about the path to life. She
staggers down a crooked trail and doesn’t realize it. So now, my
sons, listen to me. Never stray from what I am about to
say: Stay away from her! Don’t go near the door of her house!”
Proverbs 7:24-26 “Now then, my sons, listen to me; pay
attention to what I say. Do not let your heart turn to her ways or
stray into her paths. Many are the victims she has brought down;
her slain are a mighty throng.”
Proverbs 27:15-16 “A continual dripping on a rainy day and a
contentious wife are alike. Trying to keep her in check is like
stopping a wind storm or grabbing oil with your right hand.”
Proverbs 12:4 “A wife with strength of character is the crown of
her husband, but the wife who disgraces him is like bone cancer.”
Proverbs 30:20 “This is the way of an adulterous woman: She
eats and wipes her mouth and says, I’ve done nothing wrong.”
Proverbs 11:22 “A beautiful woman who lacks discretion is like a
gold ring in a pig’s snout.”
Proverbs 5:3-4 “For the lips of an immoral woman are as sweet
as honey and her mouth is smoother than oil. But in the end she
is as bitter as poison, as dangerous as a double-edged sword.”
Proverbs 6:23-29 “For their command is a lamp and their
instruction a light; their corrective discipline is the way to life. It
will keep you from the immoral woman, from the smooth tongue
of a promiscuous woman. Don’t lust for her beauty. Don’t let her
coy glances seduce you. For a prostitute will bring you to
poverty, but sleeping with another man’s wife will cost you your
life. Can a man scoop a flame into his lap and not have his
clothes catch on fire? Can he walk on hot coals and not blister his
feet? So it is with the man who sleeps with another man’s
wife. He who embraces her will not go unpunished.”
Romans 1:26 “That is why God abandoned them to their
shameful desires. Even the women turned against the natural
way to have sex and instead indulged in sex with each other.”
Timothy 5:13 “And if they are on the list, they will learn to be
lazy and will spend their time gossiping from house to house,
meddling in other people’s business and talking about things they
shouldn’t.”
Proverbs 23:27-28 “A prostitute is a dangerous trap; a
promiscuous woman is as dangerous as falling into a narrow
well. She hides and waits like a robber, eager to make more men
unfaithful.”
Proverbs 7:8-12 “He was crossing the street near the house of an
immoral woman, strolling down the path by her house. It was at
twilight, in the evening, as deep darkness fell. The woman
approached him, seductively dressed and sly of heart. She was
the brash, rebellious type, never content to stay at home. She is
often in the streets and markets, soliciting at every corner.”
